Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 1 of 6




                                                    18-0466-TM-C




                                  CHARLES	  R.	  DIARD,	  JR.	  


   	  
 November 05, 2018                        Tammy Thornton




                                                                       	  
Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 2 of 6
Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 3 of 6




                                                    18-0466-TM-C




                                 CHARLES	  R.	  DIARD,	  JR.	  



  	  
November 05, 2018                         Tammy Thornton




                                                                      	  
Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 4 of 6
Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 5 of 6




                                                   18-0466-TM-C




                                 CHARLES	  R.	  DIARD,	  JR.	  


   	  
 November 05, 2018                        Tammy Thornton




                                                                      	  
Case 1:18-cv-00466-TM-C Document 2 Filed 11/05/18 Page 6 of 6
